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                     IN THE UNITED STATES DISTRICT COUR
                             NORTHERN DISTRICT OF TEXA
                                FORT WORTH DIVISION

ELSTON NATIONWIDE,                                   §
                                                     §
        Plaintiff,                                   §
                                                     §
vs.
CALL US LOGISTICS, INC.,
                                                     ~   CIVIL ACTION NO. 4:17-CV-00792 -    f1
                                                     §
     Defendant.                                      §



                     APPENDIX TO PLAINTIFF'S MOTION FOR
               ENTRY OF DEFAULT JUDGMENT AND BRIEF IN SUPPORT



                                            Respectfully submitted,



                                            By     co~iJ ~C>J
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                                         APPENDIX



               APP. PAGES                                DOCUMENT

   A            Pages 1-3     Affidavit of Colleen McCoy


  A-1           Pages 4-9      Original Complaint


  A-2            Page 10      Declaration of Service


  A-3            Page II      Clerk's Entry of Default


  A-4           Page 12-13    Loss and Damage of Claim


  A-5            Page 14      Bill of Lading with notice of rejection of cargo

                              Electronic communication from Defendant driver informing
  A-6            Page 15      refrigeration unit on trailer malfunctioned and that cargo had been
                              rejected




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